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      5   Attorney for Defendant,
          JOSEPH S. TYLER
      6

      7

      8                             IN THE UNITED STATES DISTRICT COURT
      9                        EASTERN DISTRICT OF CALIFORNIA, FRESNO
     10                                              *****
     11
                                                        ) Case No.: CR-F-08-0224 OWW
     12   UNITED STATES OF AMERICA,                     )
                                                        ) DEFENDANT’S NOTICE OF WAIVER OF
     13                Plaintiff,                       ) PERSONAL APPEARANCE
                                                        )
     14         vs.                                     )
                                                        )
     15
          JOSEPH S. TYLER,                              )
                                                        )
     16                Defendant.                       )
     17

     18         Defendant, JOSEPH S. TYLER, waives his right to be present in open Court upon the
     19   hearing of any motion or other proceeding in this cause, including but not limited to, when the
     20   case is ordered set for trial, when a continuance is ordered, and when any other action is taken
     21   by the Court before or after trial, except upon arraignment, plea, impanelment of jury and
     22   imposition of sentence.
     23         Defendant hereby requests the Court to proceed during every absence of his which the
     24   Court may permit pursuant to this waiver; agrees that his interests will be deemed represented
     25   at all times by the presence of his attorney, Anthony P. Capozzi, the same as if the Defendant
     26   was personally present; and further agrees to be present in person in Court ready for trial any
     27   day and hour the Court may fix in his absence.
     28

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                                                                                            Defendant’s Notice of
                                                                                   Waiver of Personal Appearance


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      1         Defendant further acknowledges that he has been informed of his rights under Title 18,
      2   United States Code, Sections 3161-3174 (Speedy Trial Act), and authorizes his attorney to set
      3   times and delays under the Act without Defendant being present.
      4

      5   Dated: July 25, 2008
      6

      7
                                                              /s/ Joseph S. Tyler
                                                         JOSEPH S. TYLER
      8

      9

     10   Dated: July 28, 2008
     11                                                        /s/ Anthony P. Capozzi
                                                         ANTHONY P. CAPOZZI,
     12                                                  Attorney for Defendant
     13

     14

     15

     16                                             ORDER
     17
          IT IS SO ORDERED:
     18

     19
          Dated: August 5, 2008

     20                                                  /s/ OLIVER W. WANGER
                                                         Honorable Oliver W. Wanger
     21
                                                         U.S. District Court Judge
     22

     23

     24

     25

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     27

     28

                                                      -2–
                                                                                          Defendant’s Notice of
                                                                                 Waiver of Personal Appearance


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